




NO. 07-07-0454-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JANUARY 31, 2008

______________________________



ALANA LYNN GARIEPY, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 69
TH
 DISTRICT COURT OF MOORE COUNTY;



NO. 3990; HONORABLE RON ENNS, JUDGE

_______________________________





Before CAMPBELL and HANCOCK and PIRTLE, JJ.

ON ABATEMENT AND REMAND

Following her plea of not guilty, appellant Alana Lynn Gariepy was convicted by jury of aggravated kidnapping and sentenced to ten years confinement, to be probated for a term of ten years, and a $2,500 fine. &nbsp;&nbsp;&nbsp;Appellant timely filed a notice of appeal challenging her conviction.
(footnote: 1) &nbsp;The clerk’s record filed on December 3, 2007 contains the Trial Court’s Certification of Defendant’s Right of Appeal. &nbsp;The form, however, is not signed by appellant as required by Texas Rule of Appellate Procedure 25.2(d).
(footnote: 2)				

Consequently, we abate this appeal and remand the cause to the trial court for further proceedings. &nbsp;On remand, the trial court shall utilize whatever means necessary to secure a Certification of Defendant’s Right of Appeal in compliance with Texas Rule of Appellate Procedure 25.2(d). &nbsp;Once properly executed, the certification shall be included in a supplemental clerk’s record and filed with this Court on or before February 28, 2008.

It is so ordered. 



Per Curiam



Do not publish.





FOOTNOTES
1: 
Appellant’s notice of appeal was due on October 31, 2007. &nbsp;However, it was not actually filed until November 5, 2007. &nbsp;Because counsel for appellant has provided this Court with an uncontroverted affidavit certifying his compliance with applicable rules, we find appellant’s notice is timely. &nbsp;
See
 Tex. R. App. P. 9.2(b)(1), (2).	


2: &nbsp;Texas Rule of Appellate Procedure 25.2(d) was amended, effective September 1, 2007, to require that a defendant sign the certification and receive a copy.




